     Case 2:17-bk-20560-NB         Doc 24 Filed 11/09/17 Entered 11/09/17 11:05:46                Desc
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                                                                        FILED & ENTERED
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4                                                                             NOV 09 2017
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                                                                         CLERK U.S. BANKRUPTCY COURT
6                                                                        Central District of California
                                                                         BY sumlin     DEPUTY CLERK

7
8                           UNITED STATES BANKRUPTCY COURT

9                             CENTRAL DISTRICT OF CALIFORNIA

10                                    LOS ANGELES DIVISION

11
12   In re:                                            Case No: 2:17-bk-20560-NB

13   Petr Medacek,                                     Chapter: 13

14                                                     ORDER IMPOSING SANCTIONS AGAINST
                                                       RONALD A. NORMAN
15
16                                         Debtor(s). Hearing Date:
                                                      Date: November 7, 2017
17                                                    Time: 10:00 a.m.
                                                      Place: Courtroom 1545
18                                                           255 E. Temple Street
                                                             Los Angeles, CA 90012
19
              At the date, time and place set forth above, this court held a hearing on its order
20
     directing the above-captioned debtor’s counsel, Ronald A. Norman, Esq. (“Mr. Norman”), to
21
     appear and show cause (dkt. 21, the “OSC”) why this court should not sanction him for
22
     violating Rule 9011(b) (Fed. R. Bankr. P.) for filing opposition papers that appears to have
23
     been presented for improper purposes. Mr. Norman did not appear at the hearing on the
24
     OSC. At the hearing, this court took under submission whether to issue sanctions against
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     Mr. Norman and, if so, in what amount.
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              For the reasons set forth in the OSC, and with good cause appearing, it is hereby
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              ORDERED that monetary sanctions in the amount of $400 are hereby imposed on
28
     Mr. Norman, and it is further




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1           ORDERED that Mr. Norman must pay the foregoing sanctions by cashier’s check or
2    United States post money order, payable to the Clerk of the United States Bankruptcy
3    Court, and delivered with a copy of this Order to any Intake cashier at the Bankruptcy Court
4    for the Central District of California.
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25        Date: November 9, 2017

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                                     CERTIFICATE OF SERVICE


I, the below-named deputy clerk of the United States Bankruptcy Court, certify that I placed a true and correct

copy of the attached document in a sealed envelope for collection and mailing, no later than the next business

day that is not a court-observed holiday, in the United States mail, first class, postage prepaid, and addressed

as follows:


Ronald A. Norman, Esq.
Law Offices of Ronald A. Norman
5404 Whitsett Avenue, Suite 133
Valley Village, CA 91607
ronaldanorman@sbcglobal.net




   Service information continued on attached page




Date:   11/9/2017       Signature:               /s/ Sharon Sumlin

                        Deputy Clerk [printed name]:        Sharon Sumlin




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